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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MILKBOY CENTER CITY LLC,                                           CIVIL ACTION
 individually and on behalf of all others
 similarly situated,                                                NO. 20-2036
 Plaintiff,
                       v.
 THE CINCINNATI CASUALTY
 COMPANY,
 Defendant.
 ——————————————————–
 STONE SOUP, INC.,                                                  CIVIL ACTION
 individually and on behalf of all others                           NO. 20-2614
 similarly situated,
 Plaintiff,
                       v.
 THE CINCINNATI INSURANCE
 COMPANY,
 Defendant.

                                                            ORDER

Baylson, J.                                                                                            December 22, 2020

          Upon consideration of Plaintiffs’ Motion to Consolidate and Appoint Interim Class

Counsel it is hereby ORDERED that said Motion is GRANTED. Upon consideration of

Defendants’ Motion to File a Sur-Reply in Opposition to Plaintiffs’ Motion, is hereby ORDERED

that said Motion is DENIED.


                                                                                                          BY THE COURT:

                                                                                            s/ Michael M. Baylson

                                                                                           _________________________

                                                                                          Michael M. Baylson, U.S.D.J.

/Volumes/Judge Baylson/CIVIL 20/20-2036 and 20-2614 Milkboy & Stone Soup v Cincinnati Insurance/order re consolidation, appt int class
counsel, and surreply.docx
